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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA             )
                                     )       CRIMINAL ACTION NO.
        v.                           )          2:15cr199-MHT
                                     )               (WO)
ELDRICK DEON McNEAL                  )

                                 ORDER

       Based on the representations made on the record on

December 21, 2023, it is ORDERED that:

       (1) On or before January 26, 2024, defense counsel

and the supervising probation officer are to submit a

proposed      plan   for     defendant      Eldrick    Deon     McNeal’s

three-year term of supervised release that incorporates

the recommendations of Dr. Catherine Boyer.                   See Psych.

Evaluation (Doc. 371) at 14-15.              The proposed plan shall

address the following:

             (a) whether defendant McNeal can be placed in a

dual-diagnosis residential substance-abuse program;

             (b) whether he can then be placed in a group

home    for    individuals    with       substance   abuse    issues     or

mental       illness,   rather    than       a   halfway     house      for

offenders;
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             (c) what outpatient program he should complete

to mitigate his risk of domestic violence, how many times

he should complete it, and at what frequency; and,

             (d) to the extent the parties are unable to

implement Dr. Boyer’s recommendations, what additional

safeguards       they    propose     to    keep     defendant      McNeal

clinically stable and ensure that he does not commit any

further domestic violence.

      (2) A status conference is set for January 30, 2024,

at    9:00    a.m.,     by   videoconference,        with    government

counsel, defense counsel, and the supervising probation

officer.      The clerk of the court is to make appropriate

arrangements.

      DONE, this the 2nd day of January, 2024.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE




                                     2
